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        Hon. Jesse M. Furman
        Thurgood Marshall Courthouse
        40 Foley Square
        New York, NY 10007

        Re:      Checkmate.com Inc. v. Arjun Vasan, Case No. 25-cv-03181-JMF – Notice to Court
                 Regarding Decision on Motion to Dismiss in Related Proceeding

        Dear Judge Furman,

        I write on behalf of Checkmate.com, Inc. (“Checkmate”), and pursuant to this Court’s Instructions
        (see ECF No. 46) to provide the Court with an update on developments in the related case
        between the parties pending in the District Court for the Central District of California. 1

        As Checkmate noted in its previous letter to the Court dated June 20 (ECF No. 44), on March 26,
        2025, Checkmate filed a motion to dismiss or transfer Mr. Vasan’s employment-related claims in
        that case (the “California Motion”). After several filings by Mr. Vasan, this Court requested that
        Checkmate provide an update within seven days of a ruling on the California Motion and that the
        parties provide their views on the import, if any, of the ruling in that case on the instant action.

        On June 24, the Court issued its ruling denying the California Motion. 2 In light of the differences
        in the subject matter and the nature of the claims in the California action, Checkmate does not
        believe that this ruling affects this Court’s determination of the pending motions. Mr. Vasan
        remains liable for the significant damage caused by his conduct, as alleged in the Amended
        Complaint. Nonetheless, regardless of the import of that decision, Checkmate intends to
        voluntarily dismiss this action without prejudice in favor of proceeding against Mr. Vasan in the
        Central District of California and intends to file its notice of dismissal shortly after the July 4th
        holiday.



        1
            Captioned Arjun Vasan v. Checkmate.com, Inc., Case No.: 2:25-cv-00765-MEMF-JPR.
        2
         See Defendant’s “Notice of Supplemental Authority; Final Order in Related Action in the
        Central District of California” (ECF No. 49).



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As of the filing of this letter, Checkmate has not met and conferred with Mr. Vasan regarding its
intent to voluntarily dismiss this action, or its intent to reassert its claims against Mr. Vasan in the
California District Court action. Counsel for Checkmate intends to do so shortly. Given that Mr.
Vasan has repeatedly taken the position that the forum selection clauses in the Merger Agreement
and Non-Compete Agreement do not mandate a New York forum, he would be estopped from
taking a contrary position in the California District Court. Thus, Checkmate believes it is proper to
assert the claims brought in this action as counterclaims in the California District Court.

Checkmate thanks the Court for its continued attention to this matter and reserves all rights.


Respectfully,



Thomas A. Warns
Partner




                                                   2
                                                                                              July 2, 2025
